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                             HANTMAN      49 Filed 01/26/24 Page 1 of 3 PageID #: 1370
                                       & ASSOCIATES
                                                     ATTORNEYS AT LAW
                                                     1120 Avenue of the Americas
                                                               4th Floor
                                                     New York, New York 10036
    ROBERT J. HANTMAN                                     (P) 212-684-3933
 rhantman@hantmanlaw.com                                  (F) 212-465-2192
New York, New Jersey, & Florida Bars                    www.Hantmanlaw.com

                                                                                                    January 26, 2024
    VIA ECF
    Honorable Ann M. Donnelly
    United States District Court Judge
    United States District Court Eastern District of New York
    225 Cadman Plaza East - Courtroom 4GN Brooklyn, NY 11201

                                   Re:    Jennifer D. Araoz vs. The New Albany Company LLC, et al.
                                   U.S. District Court, Eastern District of New York - Case No. 1:22-cv-00125

              Dear Judge Donnelly:

                      In response to defendants letter of January 24, 2024, we will ignore defendants
              efforts to further argue their case for dismissal and simply respond to their criticism of
              our January 18, 2024 submission which, contrary to defendants position, is anything but
              "immaterial, impertinent”. Also, to the extent scandalous, it is only as a result of sworn
              statements and now public revelations which sheds further light on the personal and
              close relationship between Jeffery Epstein and Mr. Wexner. A relationship certainly
              closer than that between Mr. Epstein and the banks at issue which is why defendants ask
              this court to ignore.

                     (1) Judge Rakoff’s decision, granting in part and denying in part, JP Morgan and
              Deutsche Bank's motions to dismiss in actions by Epstein victims and the Virgin Islands
              ("Banking Cases"); (2) 2016 deposition testimony from Virginia Giuffre in Giuffre v.
              Maxwell, 15 Civ. 7433 ("Giuffre"), which was previously sealed and stricken by Judge
              Preska; and (3) Judge Kaplan's opinion in Giuffre v. Prince Andrew, Duke o/York, 21-cv-
              6702 (LAK) (SDNY Jan. 12, 2022) ("Prince Andrew") denying Prince Andrew's Motion
              to Dismiss.

                      Further, defendants' response seeks to convince the court that our efforts to
              professionally represent our client are predicated on wild supposition and a desire to
              generate a National Inquirer type headline. However, the opposite is true as our firm
              was retained to seek a resolution of this matter and we raised factual issues that could
              and should have been addressed by the defendants.

                      In fact, the expert opinion of Mathew Simon submitted via affidavit in this
              action, (Doc. No. 42-3), raised factual issues relevant to this case and defendants not
              only failed to refute it, but refused my suggestion that the Magistrate Judge appoint an
              expert to provide a Report and Recommendation. More recently, other than submitting
              to your Honor that which was only recently widely publicized, our client and our firm

FLORIDA                        NEW JERSEY                                               FLORIDA
HANTMAN & ASSOCIATES           JOSEPH J. FERRARA                                        ENTIN & DELLA FERA, P.A.
650 WEST AVENUE                OF COUNSEL                                               OF COUNSEL
SUITE 2408                     111 PATERSON AVENUE                                      110 SE 6TH ST., SUITE 1970
MIAMI BEACH, FL 33139          HOBOKEN, NJ 07030                                        FORT LAUDERDALE, FL 33301


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        refrained from contact with any third parties to avoid that which defendants now claim
        was our purpose.

                As our client fervently believes, this case has the opportunity to send a chilling
        message to all persons who might otherwise assist pedophiles – perhaps for their own
        wanton desires - and those involved in human trafficking - for their economic benefit -
        that there can be consequences. This is not to suggest that Mr. Wexner is in the other
        category but simply to point out what is at stake here.

               At minimum, both the banking case and the Prince Andrew case are relevant to
        defendants’ res judicata claims.

                 In Deutsche Bank’s motion to dismiss raised a threshold question that applies to
        the claims brought against it. That threshold question was the question of a release
        between the plaintiff there and the Epstein Estate. Just two months prior to instituting
        this action, plaintiff there signed the exact same release with the Epstein Estate that the
        Plaintiff in this case signed. In exchange for that, the releasee received a monetary
        payment, and corollary to that executed a very broad release with the Epstein estate. See
        Exhibit 1, pages 3-19.

                 The court pointed out that Deutsche bank was not a party to the agreement and
        stated, “since when under applicable law does a release between two parties extend to
        possible claims against third parties?” In denying the motion to dismiss, the court found
        that plaintiff’s release of the Epstein Estate did not release financial institutions such
        Deutsche bank and JP Morgan. See Id.

                Here, Mr. Wexner was essentially a financial institution to Jeffrey Epstein. He
        signed over a sweeping power of attorney to Jeffrey Epstein, 1 which was in effect from
        1991 to 2008, which gave Mr. Epstein full power and authority to act on his behalf over
        his multibillion-dollar estate. It gave Mr. Epstein the ability to borrow money,
        sign checks, make investments, buy and sell properties, negotiate and sign contracts and
        even hire and fire personnel. We alleged that Mr. Epstein used some of Mr. Wexner's
        money for hush money payments, including the money that was sent from Mr. Wexner's
        Charity to Mr. Epstein’s charity, which is known to have used funds to make hush
        money payments.

                In Prince Andrew’s motion to dismiss, the main argument was that Epstein’s
        release with the plaintiff was intended to cover him. The court found that the settlement
        agreement was ambiguous, and it was a triable issue of fact whether it was intended to
        cover Prince Andrew that could not be decided on a motion to dismiss.

                  As far as the Virginia Guiffre's publicly released deposition testimony, it

1
 See Exhibit 2 hereto, Power of Attorney, previously submitted in this action as exhibit 3 to the Affirmation of Robert J.
Hantman (Doc. No. 42-4)


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          confirms the publicly available deposition testimony we included in our opposition to
          defendant’s motion to dismiss by Guiffre's attorney, Stanley Pottinger, 2 regarding claims
          that "Mr. Wexner was alleged to have had sex with one or more of Mr. Epstein's girls,
          including Ms. Guiffre." See Affidavit of Stanley Pottinger in Giuffre v. Dershowitz,
          Case No.:19-cv-03377-LAP Dkt. No. 36-7 ¶9, a true and correct copy of which was filed
          in this action as Doc. No. 42-8.

                  This is relevant to whether Wexner knew or should have known that Epstein was
          sexually trafficking underage girls.

                  As to the relief which defendants seek, we will not be so presumptuous as to
          suggest what your honor should do, as our past, current, and future focus was, is, and
          will be simply to assist our client in protecting her rights and those of the less powerful
          and most vulnerable from predatory actions for which, ironically, the only person
          punished so far has been a woman and not a single man who contributed to the making
          and marketing ability of Mr. Epstein.

                  Based on the foregoing we believe there is no need for oral argument on these
          issues. We thank you for your attention to this matter.

Respectfully Submitted,

_/s/ Robert J. Hantman
Robert J. Hantman, Esq.
Counsel for Plaintiff

CC via E-filing:
Marion Little
Terri Thompson




2
    Doc. No. 42-8.


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